Case 2:05-cr-20251-SH|\/| Document 38 Filed 07/27/05 Page 1 of 2 Page|D 44

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lN THE UNrrED sTATEs DISTRICT CoURT k ' D'C'
FOR THE WESTERN DISTRICT oF TENNESSEEQ§ JUL 27 PH ,. l h

 

     

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Ci.EF.ti, ll __ `(J J UP|T
UNITED sTATEs oF AMERICA l*t'D §L‘F ., ten irs
v. 05-20251-02-Ma

GEORGE ARDS

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on <M 62 7 350 5 , the United States Attorney
for this district app cared on behalf of the q§iremrr@rrt, and the defendant appeared in person and with
counsel:

NAME g m 5 61 W?Ip 5/)/\“ who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

g The defendant, who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

,<G\AM /( 204/of

UNITED STATES M-AGISTRATE .TUDGE

 

CHARGES: 18:1343 & 2;

U. S. Attomey assigned to Case: C. McMullen

Age: 3 q

This docl.ment entered on the docket sheet |n am 11 nce
with R\ile 55 andlor 32fb) FF\CTP on _M§__éé-

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Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:05-CR-20251 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

